Case 1:20-cv-08924-CM Document 107-7 Filed 03/26/21 Page 1 of 5




                Exhibit G
3/24/2021                Case 1:20-cv-08924-CM             Document
                                   No. 203: New York State Police Reform and107-7      Filed
                                                                             Reinvention       03/26/21
                                                                                         Collaborative | GovernorPage   2 of
                                                                                                                 Andrew M.    5
                                                                                                                           Cuomo




JUNE 12, 2020 Albany, NY


No. 203: New York State Police Reform and
Reinvention Collaborative
No. 203

                                                          EXECUTIVE ORDER

                  NEW YORK STATE POLICE REFORM AND REINVENTION COLLABORATIVE

WHEREAS, the Constitution of the State of New York obliges the Governor to take care that the
laws of New York are faithfully executed; and

WHEREAS, I have solemnly sworn, pursuant to Article 13, Section 1 of the Constitution, to support
the Constitution and faithfully discharge the duties of the Oﬃce of Governor; and

WHEREAS, beginning on May 25, 2020, following the police-involved death of George Floyd in
Minnesota, protests have taken place daily throughout the nation and in communities across New
York State in response to police-involved deaths and racially-biased law enforcement to demand
change, action, and accountability; and

WHEREAS, there is a long and painful history in New York State of discrimination and
mistreatment of black and African-American citizens dating back to the arrival of the ﬁrst
enslaved Africans in America; and

WHEREAS, this recent history includes a number of incidents involving the police that have
resulted in the deaths of unarmed civilians, predominantly black and African-American men, that
have undermined the public’s conﬁdence and trust in our system of law enforcement and
criminal justice, and such condition is ongoing and urgently needs to be rectiﬁed; and



https://www.governor.ny.gov/news/no-203-new-york-state-police-reform-and-reinvention-collaborative                                 1/4
3/24/2021                Case 1:20-cv-08924-CM             Document
                                   No. 203: New York State Police Reform and107-7      Filed
                                                                             Reinvention       03/26/21
                                                                                         Collaborative | GovernorPage   3 of
                                                                                                                 Andrew M.    5
                                                                                                                           Cuomo

WHEREAS, these deaths in New York State include those of Anthony Baez, Amadou Diallo,
Ousmane Zango, Sean Bell, Ramarley Graham, Patrick Dorismond, Akai Gurley, and Eric Garner,
amongst others, and, in other states, include Oscar Grant, Trayvon Martin, Michael Brown, Tamir
Rice, Laquan McDonald, Walter Scott, Freddie Gray, Philando Castile, Antwon Rose Jr., Ahmaud
Arbery, Breonna Taylor, and George Floyd, amongst others,

WHEREAS, these needless deaths have led me to sign into law the Say Their Name Agenda
which reforms aspects of policing in New York State; and

WHEREAS, government has a responsibility to ensure that all of its citizens are treated equally,
fairly, and justly before the law; and

WHEREAS, recent outpouring of protests and demonstrations which have been manifested in
every area of the state have illustrated the depth and breadth of the concern; and

WHEREAS, black lives matter; and

WHEREAS, the foregoing compels me to conclude that urgent and immediate action is needed
to eliminate racial inequities in policing, to modify and modernize policing strategies, policies,
procedures, and practices, and to develop practices to better address the particular needs of
communities of color to promote public safety, improve community engagement, and foster trust;
and

WHEREAS, the Division of the Budget is empowered to determine the appropriate use of funds
in furtherance of the state laws and New York State Constitution; and

WHEREAS, in coordination with the resources of the Division of Criminal Justice Services, the
Division of the Budget can increase the eﬀectiveness of the criminal justice system by ensuring
that the local police agencies within the state have been actively engaged with stakeholders in
the local community and have locally-approved plans for the strategies, policies and procedures
of local police agencies; and

NOW, THEREFORE, I, Andrew M. Cuomo, Governor of the State of New York, by virtue of the
authority vested in me by the Constitution and the Laws of the State of New York, in particular
Article IV, section one, I do hereby order and direct as follows:

https://www.governor.ny.gov/news/no-203-new-york-state-police-reform-and-reinvention-collaborative                                 2/4
3/24/2021                Case 1:20-cv-08924-CM             Document
                                   No. 203: New York State Police Reform and107-7      Filed
                                                                             Reinvention       03/26/21
                                                                                         Collaborative | GovernorPage   4 of
                                                                                                                 Andrew M.    5
                                                                                                                           Cuomo

The director of the Division of the Budget, in consultation with the Division of Criminal Justice
Services, shall promulgate guidance to be sent to all local governments directing that:

Each local government entity which has a police agency operating with police oﬃcers as
deﬁned under 1.20 of the criminal procedure law must perform a comprehensive review of
current police force deployments, strategies, policies, procedures, and practices, and develop a
plan to improve such deployments, strategies, policies, procedures, and practices, for the
purposes of addressing the particular needs of the communities served by such police agency
and promote community engagement to foster trust, fairness, and legitimacy, and to address any
racial bias and disproportionate policing of communities of color.

Each chief executive of such local government shall convene the head of the local police
agency, and stakeholders in the community to develop such plan, which shall consider evidence-
based policing strategies, including but not limited to, use of force policies, procedural justice;
any studies addressing systemic racial bias or racial justice in policing; implicit bias awareness
training; de-escalation training and practices; law enforcement assisted diversion programs;
restorative justice practices; community-based outreach and conﬂict resolution; problem-
oriented policing; hot spots policing; focused deterrence; crime prevention through
environmental design; violence prevention and reduction interventions; model policies and
guidelines promulgated by the New York State Municipal Police Training Council; and standards
promulgated by the New York State Law Enforcement Accreditation Program.

The political subdivision, in coordination with its police agency, must consult with stakeholders,
including but not limited to membership and leadership of the local police force; members of the
community, with emphasis in areas with high numbers of police and community interactions;
interested non-proﬁt and faith-based community groups; the local oﬃce of the district attorney;
the local public defender; and local elected oﬃcials, and create a plan to adopt and implement
the recommendations resulting from its review and consultation, including any modiﬁcations,
modernizations, and innovations to its policing deployments, strategies, policies, procedures,
and practices, tailored to the speciﬁc needs of the community and general promotion of
improved police agency and community relationships based on trust, fairness, accountability, and
transparency, and which seek to reduce any racial disparities in policing.



https://www.governor.ny.gov/news/no-203-new-york-state-police-reform-and-reinvention-collaborative                                 3/4
3/24/2021                Case 1:20-cv-08924-CM             Document
                                   No. 203: New York State Police Reform and107-7      Filed
                                                                             Reinvention       03/26/21
                                                                                         Collaborative | GovernorPage   5 of
                                                                                                                 Andrew M.    5
                                                                                                                           Cuomo

Such plan shall be oﬀered for public comment to all citizens in the locality, and after
consideration of such comments, shall be presented to the local legislative body in such political
subdivision, which shall ratify or adopt such plan by local law or resolution, as appropriate, no
later than April 1, 2021; and

Such local government shall transmit a certiﬁcation to the Director of the Division of the Budget
to aﬃrm that such process has been complied with and such local law or resolution has been
adopted; and

The Director of the Division of the Budget shall be authorized to condition receipt of future
appropriated state or federal funds upon ﬁling of such certiﬁcation for which such local
government would otherwise be eligible; and

The Director is authorized to seek the support and assistance of any state agency in order to
eﬀectuate these purposes.

G I V E N under my hand and the Privy Seal of the State in the City of Albany this twelfth day of
June in the year two thousand twenty.

BY THE GOVERNOR

Secretary to the Governor




https://www.governor.ny.gov/news/no-203-new-york-state-police-reform-and-reinvention-collaborative                                 4/4
